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                                                     November 2, 2022

 VIA ECF

 Hon. Joan M. Azrack, USDJ
 United States District Court, Eastern District of New York
 100 Federal Plaza
 Central Islip, NY 11722

        Re:    D'Aguino v Garda CL Atlantic, Inc, Case No. 16-CV-00641 (JMA)(SIL)

 Dear Judge Azrack:

         I represent various Plaintiffs in the above referenced matter. The parties submit this
 status report as directed by the Court’s order of October 19, 2022. The parties have completed
 jurisdictional discovery, and submit the following proposed briefing schedule regarding
 Plaintiff’s anticipated motion to dismiss for lack of subject matter jurisdiction:

        Plaintiffs’ Motion                                    December 9, 2022

        Defendant’s Opposition                                January 16, 2023

        Plaintiffs’ Reply                                     January 30, 2023


                                                     Respectfully submitted,

                                                     Steven J. Moser
                                                     Steven J. Moser

 CC:    All counsel of record via ECF




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